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UNITED STATES DISTRICT COURT
DISTRICT OF SOUTH DAKOTA
NORTHERN DIVISION

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SIOUX RURAL WATER SYSTEM, INC.,
A NON-PROFIT CORPORATION,

woe ke ke RR ek RK OR OK

1:15-CV-01023-CBK

Plaintiff,
vs.

CITY OF WATERTOWN, A SOUTH
DAKOTA MUNICIPALITY; AND
WATERTOWN MUNICIPAL UTILITIES,
AN AGENCY OF THE CITY OF
WATERTOWN,

Defendants.
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DEPOSITION
OF
STEVE LEHNER
February 16, 2016

9 o'clock, a.m.

Taken at:

Offices of Watertown Municipal Utilities
901 Fourth Avenue SW

Watertown, South Dakota

Reporter: Tammy Stolle, RPR

EXHIBIT

 

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35 37
4 MR, HIEB: Yeah, I just -- 4 MR, COLE: It's on page seven.
2 a. (BY MR. COLE) Okay. Now the economics of 2 MR. HIEB: Okay. (Handing.) It's in front of
3 acquiring existing rural water distribution systems, are they 3 him.
4 aver considered when the city provides water such as you have 4 Q. (BY MR, COLE) And one of the answers here, or
§ and as shown in Defendant 871 to 881? 5 part of the answer, I should be clear on this, it says, “All
6 A. Now when you're -~- we don't have a formal formula 8 of its policies, procedures and/or directives were drafted
7 for economics. We get a request from 2 customer. We'll look 7 pursuant to 9-47." Do you see that?
@ at, you know, whether or not the city is growing In that 8 A. Sure.
8 area, We have fots of requests for water outside of the city 9 a. Is that your understanding of MU policies,
10 limits and typically we don't -- we follow our policy and 410 procedures or directives?
11 don’t provide water to those folks. a Be A, I don't have a copy of 9-47 In front of me, I
12 If there’s a reason, a significant reason to do 12 guess.
13 so, then our board considers it. We don't base it solely on 13 Q. Yeah, I'm just asking, is it your understanding
14 an economic evaluation of the price to take it there or the 44 — that all of Mu's policies, procedures, and/or directives were
15 revenue back or a payback in terms of -- because it's 15 drafted pursuant to SDCL 9-477
16 generally something that’s going to be annexed into the city 16 A We follow the state law when it comes to
17 and we have that obligation to serve them when they're 17 annexation, so I'm assuming 9-47 deals with that.
18 annexed. 18 Q. And I'm just -~ I'm going to try to get a clearer
19 Qa Do you know how long some of those customers have 418 answer to that, and if you've answered the question, I
20 been served by the city? 20 = apologize to you, but are MU's policies, procedures and/or
21 MR, HIEB: You're referencing DEF-871? 21 ~~ directives drafted pursuant to SDCL 9-47 to your
22 MR. COLE: Yes. Sorry. 22 = understanding?
23 MR, HIEB: That's okay. 23 A. I would say that not all of our policies are
24 A. It looks like the date is right on the sheet. 24 ~~ drafted to 9-47 because we have policies for every aspect of
25 Q, (BY MR. COLE) What's the latest, or the longest 25 our operation and not every aspect of our operation deals
36 38
1 time someone's been served outside the city limits based on 1. with 9-47,
2 what you see in Defendant 871? 2 Qa. Fair answer. But with regard to specifically the
3 A. It looks like about 1990 would be the -- well, 3. acquisition or annexation of areas that include water --
4 1971 would be Western Area Power Administration or the Bureau 4 areas served by rural water systems, you have utilized SDCL
5 of Reclamation. 5 9-47 in the drafting of your policies, procedures, and/or
6 Qa. Okay. When you talk about your policy, you're 6 directives, true?
7 talking about MU's policy? 7 A. Correct.
8 A. Correct. 8 Q. And this question may draw an objection, but
9 Q. And in Mu's policy, does it specifically state 9 what's your understanding of what SDCL 9-47 does?
10 that you're not going to provide water outside the city 10 MR. HIEB: Well, you did it. Objection. Calls
11° limits? 11. fora legal conclusion. Lack of foundation.
12 A. Without approval of the board. There is a 12 Q. (BY MR. COLE) Just asking your understanding.
13. provision for approval of the board to do so. As with all of 13 A My understanding is that when we annex a
14 our policies, the board can approve deviations from it. 14 customer, or we annex a property, a customer that’s being
15 Q. Does the city council ever approve MU providing 15 served by Sioux Rural Water, we have an obligation to buy out
16 water outside Watertown city limits? 16 what system is there providing service to them and pay, I
17 A. I don't believe so, no. That's a Utility board 17 believe it's five percent gross revenues for five years.
18 = decision. 18 Q. And when that happens, is it your understanding
19 Q. Now one of the things that the city and MU has 19 that it's MU's decision on whether or not it will serve a
20 ~~ provided to us are answers to request for production of 20 customer that has previously been served by Sloux?
21. documents, and specifically, Jack, 19. I'm going to ask him 21 MR. HIEB: Objection. Calls for a legal
22 a couple questions about that. 22 conclusion. Go ahead.
23 MR, HIEB: Your request to us? 23 A. Repeat the question.
24 MR. COLE: Yes. 24 MR. COLE: Could you read it back, please?
25 MR. HIEB: Okay. 25 (The requested portion of the record was read by

 

 

 

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